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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 -------------------------------------------------------------------x
 In Re: KASTRIOT RAPAJ                                                        Case No. 1637090        COM

                                                                              CHAPTER 13 PLAN


                                                    Debtor
  SSN xxx-xx-0171            SSN xxx-xx­

 -------------------------------------------------------------------x

 PART 1. DEFINITIONS AND NOTICES
 1.1 Plan Definitions: If this is ajoint case, use of the term "Debtor" shall also mean Debtors. The term "Bankruptcy
 Rule" shall refer to the Federal Rules of Bankruptcy Procedure. The term "Form Plan" refers to this court's Local
 Chapter 13 Model Plan. The term "Local Rule" shall refer to the Local Rules of Bankruptcy Procedure ofthe United
 States Bankruptcy Court for the Southern District ofNew York. The term "Petition" refers to Debtor's bankruptcy
 petition filed with the Court on December 9,2016. The term "Plan" refers to this chapter 13 plan. The term "Real
 Property Used as a Principal Residence" includes cooperative apartments. The term "Trustee" shall always refer to the
 Chapter 13 Standing Trustee for this Court, or the substitute therefor.

 1.2 Debtor must check one box on each line to state whether or not the Plan includes each ofthe following items.
 If an item is checked "does," the Debtor must serve this Plan on any affected party in interest pursuant to
 Bankruptcy Rule 7004. Failure to serve the Plan pursuant to Bankruptcy Rule 7004 whenever required may
 render the provision ineffective. If an item is checked as "does not" or if both boxes are checked, the provision
 will be ineffective if set out later in the Plan.
  In accordance with Bankruptcy Rule 3015.1, this Plan:
  ~ does 1 0 does not contain any nonstandard provision (See Part 8 herein for any non-standard provision);
  o  does 1 ~ does not limit the amount of a secured claim based on valuation of the collat~al for the claim (See Part 3
  herein);
  o  does 1 ~ does not avoid a security interest or lien (See Part 3 herein);
  o  does 1 ~ does not request loss mitigation (See Part 8 herein).

 1.3 Notice to Debtor: This Form Plan sets out options that may be appropriate in some cases, but the presence of an
 option on the Form Plan does not indicate that the option is appropriate in your circumstances. To be confrrmable, this
 Plan must comply with the Bankruptcy Code, the Bankruptcy Rules, judicial rulings, and the Local Rules.
       o  By checking this box, Debtor acknowledges that he/she is not eligible for a discharge pursuant to 11 U.S.C. §
       1328(1). [Prior Case number:               petition date: Click or tap to enter a date.
                                                  discharge date in prior case: Click or tap to enter a date.            .]'
      If checked, the Debtor shall submit an order denying discharge upon confirmation ofthe Plan or the Court's
      separate determination ofthe request, whichever is earlier.
       ~ This is an Amended ,or Modified Plan. The reasons for filing this Amended or Modified Plan are:

               ModifY amount of plan payments and make additional amendments to plan concerning claims and stipulations.

 1.4 Notice to Creditors: Ifyou oppose the Plan's treatment ofyour claim or any provision of this Plan, you or your
 attorney must file an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
 otherwise ordered by the Bankruptcy Court. This includes objections to valuations of collateral, motions to avoidjunior
 mortgage and judicial liens, and surrender provisions.




                                                                                                                               Page I
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          Pursuant to Bankruptcy Rule 3015(g), "any Pg  2 of 10 in the Plan made under [Bankruptcy] Rule
                                                    determination
 3012 about the amount of a secured claim is binding on the holder of the claim, even if the holder files a contrary
 proof of claim or the Debtor schedules that claim [differently], and regardless of whether an objection to the
 claim has been filed."
  .       This Plan shall be binding upon its confirmation. You should read this Plan carefully and discuss it with
 your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult
 one who practices bankruptcy law.
 The Bankruptcy Court may confirm this Plan without further notice if no objection is filed. See Bankruptcy Rule 3015.

 PART 2: PLAN PAYMENTS AND DURATION
 2.1 The Debtor's future earnings are submitted as provided in the Plan to the supervision and control ofthe Trustee.
 Debtor will make the first Plan payment no later than thirty (30) days after the date the Petition was filed. The
 Debtor shall make [ 21 ] monthly payments to the Trustee as follows:

 I Amount                           How Many Months?
 ! $1000.00                         20
 • $120152.49                       1
 i$

    D Debtor's annual commitment period is 36 months and Debtor moves to extend to 60 months for the
    following reasons: (check all that apply)
           Debtor is not able to propose a feasible plan in a period ofless than 60 months. Debtor's proposed monthly
        payment will constitute an affordable budget that the Debtor will be able to maintain.
         D Payments greater than that proposed by this Plan for 60 months would create an economic hardship for
        the Debtor.
         D Creditors will not be prejudiced by this application for extension ofDebtor's Plan payments from 36 to 60
         months.

2.2 Regular payments
Regular Plan payments to the Trustee will be made from future income in the following manner:
Check all that apply
    ~ Debtor will make payments directly to the Trustee.
    D Debtor will make payments through any entity from whom the Debtor receives income, pursuant to a
payroll deduction order 11 U.S.C. § 1325(c). Upon checking the box for a payroll deduction order, Debtor
shall submit to the Court a separate order directing Debtor's employer to deduct the Plan payments from
Debtor's wages. Debtor also agrees to notify the Trustee immediately upon change or termination of
employment.
    D Non-Debtor contributor will make the following monthly payments to tre debtor, who will send payment to the
Trustee:




2.3 Income Tax Refunds
 All future tax refunds in excess of $1500 per individual Debtor (less any cash exemptions in the Plan's first year, if
applicable) shall be paid to the Trustee for the duration ofthe Plan. The Debtor shall provide the Trustee with all
income tax returns through the full performance of the Plan.

2.4 Irregular Payments Check one.
     D None. If"None" is checked, the rest of subsection 2.4 need not be completed or reproduced.
     ~ Debtor will make irregular payment(s) to the Trustee from other sources, as specified below.




2.5 Payment Terms
                                                                                                                          Page 2
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 The Debtor will pay the amounts payable to the Trustee    by electronic
                                                       Pg 3 of 10        transfer of funds or bank check, certified
 check, teller's check, or money order sent directly to the Chapter 13 Trustee. See http://www.access13.com/site/

 PART 3: TREATMENT OF SECURED CLAIMS
 3.1 Definitions: For the purposes of this subsection, any reference to the term "Secured Creditor" means lienholder
 mortgagees, a creditor whose interest is secured by a mortgage on Debtor's real property, including Real Property
 Used as a Principal Residence; a holder andlor authorized servicer of a claim secured by a lien, mortgage and/or
 deed of trust; andlor any other similarly situated creditor, servicing agent andlor their assigns. The term "Lien"
 shall include references to mortgages, liens, deeds oftrust and any other similarly situated interests in the Debtor's
 real or personal property. The term "Prepetition Arrearages" shall refer to an outstanding monetary default with
 respect to, or that gave rise to, a Lien prior to the Petition date. The term "Post-Petition Payment" means payment
 that first becomes due and payable by the Debtor to the Secured Creditor after the filing of the Petition.

 3.2 Maintenance of payments and cure of default, if any.
 Check one.
     o None
     o The Debtor will maintain the current contractual installment payments on the secured claims listed below
     with any changes required by the applicable contract and noticed in conformity with applicable rules. These
     payments will be disbursed directly by the Debtor. The Debtor shall keep a complete record of all Debtor's
     payments under the Plan. However, any existing Prepetition arrearage on a timely filed secured claim will be
     paid in full through disbursements by the Trustee, with interest, if any, at the rate stated below. Confirmation
     ofthis Plan shall impose an affirmative duty on the Secured Creditor and Debtor to do all the following as
     ordered:

 (a) Post-Petition Payments.
 Debtor shall pay the following Post-Petition payments directly to the Secured Creditor listed below during the
 pendency of the Plan:

   Secured Creditor & Property Description             Payment         Payment         Address Where Post Petition
                                                       Amount          Timing          Payments Will be Sent
   JP Morgan Chase Bank, NA                            $2540.00        Monthly         JP Morgan Chase Bank, NA, 3415
                                                                                       Vision Drive, Columbus, OH 43219
   Bayview Loan Servicing, LLC                          $3154.17       Monthly         Bayview Loan Servicing, LLC, 4425
                                                                                       Ponce DeLeon Boulevvard, 5th Fir,
                                                                                       Coral Gables, FL 33146
                                                       $

 (b) Prepetition Arrearages.
          (i) For purposes ofthis Plan, Prepetition Arrearages shall include all sums included in the allowed
 secured claim and shall have a "0" balance upon entry of the discharge order in this case. In the event that a
 Secured Creditor listed in this section fails to timely file a proof of claim in this case, the Debtor may file a
 claim on the Secured Creditor's behalf, pursuant to 11 U.S.C. § 501(c), before the applicable bar date.
          (ii) No interest will be paid on Prepetition Arrearages unless otherwise stated herein.
          (iii) Payments made by the Trustee on Debtor's Prepetition Arrearages shall be applied only to
 those Prepetition Arrearages and not to any other amount owed by Debtor to the Secured Creditor.
          (iv) Information Regarding Prepetition Arrearages:

   Secured Creditor       Property                Property Address       Value of       Valuation      PrePetition   Arrearage
                          Description                                    Collateral     Method         Arrearage     Owed as
                                                                                                       Amount        of Date
 . JP Morgan Chase        1 Family Residence      3 Dara Ct.,            $125000.00     Est.         . $33215.22     December
   Bank, NA                                       Monroe, NY                                                         9,2016

   Bayview Loan           Commercial              40 Jersey Ave,         $600000.00     Est.           $69638.56     December
   Servicing, LLC         Property                Greenwood Lake,                                                    9,2016
                                                  NY 10925

      (v) Ifthe Trustee pays the amount(s) specified in Part 3.2(b) (iv) (above); and the Debtor makes all
      required Post-Petition Payments as specified in Part 3.2(a), any default with respect to a Lien, including a
      Lien on Real Property Used as a Principal Residence will be cured, extinguishing any right ofthe Secured
                                                                                                                               Page 3
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      Creditor to recover any amount alleged to have Pg
                                                     arisen
                                                          4 prior
                                                            of 10to the filing of Debtor' s Petition.
 (c) Adequate Protection.
 If applicable, adequate protection of a Secured Creditor's interest in property shall be provided as follows:
 {describe and provide the basis for calculation, or state not applicable]



 Any such payments shall be applied by the Secured Creditor to its allowed secured claim.

    (d) Return and/or Reallocation of Distribution Payment Made to Secured Creditor.
 If a Secured Creditor withdraws its claim, the sum allocated herein towards the payment ofthe Secured
 Creditor's claim shall be distributed by the Trustee to Debtor's remaining creditors, as provided herein. Ifthe
 Secured Creditor has received monies from the Trustee (Distribution Payment) and returns those monies to the
 Trustee, the monies returned shall be distributed to the Debtor's remaining creditors, as provided herein. If
 this Plan repays creditors in full, then such returned monies will be paid to the Debtor.

 3.3 Surrender
 Check one. Jfyou check a box other than "None" you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
        None.
    o   Debtor surrenders the following property and upon confirmation ofthis Plan or as otherwise ordered by the Court,
     bankruptcy stays are lifted for all purposes as to the collateral to be surrendered. Every Secured Creditor with a Lien
     on surrendered property shall file a deficiency claim within 60 days of notice of such surrender if it disagrees with the
     Plan's statement ofthe deficiency claim below. Any allowed unsecured claim resulting from the disposition ofthe
     collateral will be treated in Part 6 below.

 (a) If the property being surrendered is real property located in New York State, check one of the
 following boxes.
  Upon confirmation, Debtor intends to:
      (i) 0 Cease making payments to the Claimant and continue residing at the Property until a court orders
     Debtor to vacate
      (ii) 0 Vacate the premises and make Claimant liable for all maintenance on the Property, pursuant to
      New York RPAPL §1308.

   Claimant                          Property to be Surrendered       Creditor holding       Value of              Amount of
                                                                      senior lien; or        Collateral            Deficiency
                                                                      otherwise identifY                           Claim to be
                                                                      by interest                                  Paid as
                                                                                                                 ! Unsecured
                                                                                            $                      $
                                                                                            $                      $
                                                                                            $                      $

 3.4 Wholly unsecured Liens
 Check one. Jfyou check a box other than "None" you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
     I2l None.
     o   Debtor requests that the Court value the collateral in the amount listed below, avoid the following Liens as wholly
     unsecured, and reclassifY any timely claim filed as unsecured. As stated in Bankruptcy Rule 30 12(c): "Request to
     determine amount of government's secured claim must be by motion or in a claim objection after the government
     files a proof of claim or after the time for filing a claim expires." Attach appraisal o/property to this Plan. The
     Debtor shall submit an order avoiding the Lien upon confirmation o/the Plan or the Court's separate determination
     0/the request whichever is earlier.
   Creditor Name             Collateral Description    Collateral Value           Lien Identification      Amount of Senior
                                                                                                           Lien(s)

                                                       $                                                   $

                                                       $                                                   $


                                                                                                                                 Page 4
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3.5 Request for valuation of securityfBifurcation of Liens [Not applicable to Real Property Used as a Principal
Residence or property listed under Section 3.6 ofthis Plan}. Check one.1fyou check a box other than "None" you
will have to serve this Plan pursuant to Bankruptcy Rule 7004. As stated in Bankruptcy Rule 3012(c): "Request to
determine amount of government's secured claim must be by motion or in a claim objection after the government
fi les a proof of claim or after the time for filing a claim expires."
       IZI None.
       D The Debtor requests that the court determine the value ofthe secured claims listed below. The portion of any
      allowed claim that exceeds the amount ofthe collateral securing the claim will be treated as an unsecured claim
      under Part 6 ofthis Plan. The holder of any claim listed below as having value in the column headed "Amount of
      secured claim" (a) will retain its Lien on the property ofthe estate until such time as the earlier of 0) payment in
       full, or (ii) the Plan is performed; and (b) will retain its Lien on non-estate property. Attach appraisal ofproperty
       as an exhibit to this Plan. The Debtor shall submit an order voiding the Lien upon confirmation ofthe Plan or the
      Court's separate determination ofthe request, whichever is earlier.


 i Creditor Name, Property I Amount of          Value of          Debt Amount        Amount          1 At interest      • Trustee
 • Address, & Description    Senior Liens       Collateral        Outstanding        Secured             rate           •
                                                                                                                          shall pay  I
                             After Value                                             Claims                               arrearages
                             of Collateral                                                                                in Amount
                               $                $               1$                   $                          %           $
                                                                                                                                         •

 !
                               $                $                 $                  $                          %           $            !
                               $                $                 $                  $                          %           $
                               $                $                 $                  $                          %       i$

3.6 Secured Claims excluded from 11 U.S.c. § 506
Check one.
    IZl None.
    D The claims listed below were either: (l) incurred within 910 days before the Petition date and secured by a purchase
    money security interest in a motor vehicle acquired for the personal use ofthe Debtor; or (2) incurred within I year of the
    Petition date and secured by a purchase money security interest in any other thing of value.

These claims will be paid in full under the Plan with interest at the rate stated below. These payments will be
disbursed either by the Trustee or directly by the Debtor, as specified below. The final column indicates
payments to be disbursed only by the Trustee rather than by the Debtor.

                                                                                 I
 I Creditor Name               Collateral       Claim             Monthly Plan       Interest Rate   1   Payment            Total        I

                                                Amount            Payment                                Disbursed by       Payment
                                                                                                         Trustee or         by Trustee
                                                                                                         Debtor
                                                $                 $                        %             Choose an          $
                                                                                                         item .
                                                $                 $                        %         •
                                                                                                     • Choose an            $
                                                                                                       item.
                                                $                 $                        %             Choose an          $
                                                                                                         item.
                                                $                 $                        %             Choose an          $
                                                                                                         item.

3.7 Judicial Lien Avoidance
Check one.1fyou check a box other than "None" you will have to serve this Plan pursuant to Bankruptcy Rule 7004.
       IZl None.
       D Entire Lien is avoided. Any timely filed claim by Claimant shall be an unsecured claim in the amount of
       $
       D A portion ofthe Lien is avoided. Any timely filed claim of Claimant shall be a secured claim in the amount of
                                                                                                                                    Page 5
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       $        at interest rate of       % and an unsecured
                                                       Pg 6 claim
                                                             of 10in the amount of $
 Calculation of Lien Avoidance

   Claimant Name Collateral             Value of          Nature of Value of             Lien               Amount I Remaining
                                        Debtor            Exemption Exemption            Identification     of all   i Equity

                                      • Interest in                 Claimed on                              Liens      Securing
                                        Property                    Schedule C                              with       Lien
                                        (attach                                                           • Priority
                                        appraisal as                                                        over
                                        exhibit to this                                                     this
                                      I Plan)                                                               Lien
                                       $                               $                                    $        $             I


                                       $                               $                                    $        $
                                       $                               $                                  1$         $
                                       $                               $             I                      $        $             i


                                       $                               $                                    $        $             I


                                      1$                               $                                    $        $
                                       $                               $                                    $        $
                                       $                               $                                    $        $
                                       $                               $                                    $        $
                                       $                               $                                    $        $

The Debtor shall submit an order voiding the Lien upon confirmation of the Plan or the Court's separate
determination oftbe request, whichever is earlier.
http://www.nysb.uscourts.gov/sites/defaultlfiles/522_Cformorder.docx

3.8 Miscellaneous Provisions
 (i) Secured Creditors with a security interest in the Real Property Used as a Principal Residence shall comply with
all provisions of Bankruptcy Rule 3002.1.
 (ii) Ifrelief from the automatic stay is ordered as to any item of collateral listed in this Part, then, unless otherwise
ordered by the Court, all timely filed secured claims based on a Lien on that collateral will no longer be treated by
the Plan and all payments under this Part of the Plan on such secured claims shall cease.

PART 4 TREATMENT OF FEES AND PRIORITY CLAIMS
4.1 General
Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in
subsection 4.5, will be paid in full without post-Petition interest.

4.2 Trustee's fees
Trustee's fees will be no more than 10% of Plan payments.

4.3 Attorney's fees
Counsel for the Debtor has received a Prepetition flat fee to be applied against fees and costs incurred. Fees and
costs exceeding the flat fee shall be paid from funds held by the Trustee as an administrative expense after
application to and approval by the Court, pursuant to II U.S.C. § 330(a)(4) and Bankruptcy Rule 2016.

Total Amount of flat fee charged: $5000.00 (subject to review under II U.S.C § 329).
Amount of flat fee paid Prepetition: $3500.00
Remainder of flat fee to be paid through Plan, ifany: $1500.00

 4.4 Unsecured Domestic Support Obligations.
Debtor shall remain current on all such obligations that come due after filing the Petition. Unpaid obligations
incurred before the Petition date are to be cured by the following Plan payments.
                                                                                                                                  Page 6
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      Creditor Status (e.g. child, spouse, fonner spouse, domestic partner)                           PrePetition Arrearages
      NONE                                                                                            $
                                                                                                      $
                                                                                                      $
                                                                                                      $
                                                                                                      $
                                                                                                      $
                                                                                                      $
                                                                                                      $

     4.5 Other Unsecured Priority Claims, includin2 Unsecured Tax Claims.
      Creditor Name                  Type of Priority Debt                          PrePetition Arrearages          Interest Rate
                                                                                    $
                                                                                    $
                                                                                    $
                                                                                    $
                                                                                    $
                                                                                    $
                                                                                    $
                                                                                    $

PART 5 EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Pursuant to 11 U.S.C. § 1322(b), Debtor assumes or rejects the following unexpired lease(s) or executory
contract(s). For any assumed executory contract or unexpired lease with an arrearage to cure, the arrearage will be
cured in the Plan with regular monthly payments to be paid directly to the contract party by the Debtor. The cure
amount will be as set forth below, unless an objection to such amOlll1t is filed, by the date to object to continnation
to the Plan, in which event, the cure amount shall be fixed by the Court. Jfthe Plan provides for the assumption or
rejection ofa contract or unexpired lease, it must be served on the other party to the agreement under Bankruptcy
Rule 7004.

5.1 Assumed
   Creditor Name                        Address & Property Description        Cure Amount          Cure Calculated Through
                                                                                                   Date                               I
                                                                              $                    Click or tap to enter a date.
                                                                              $                !   Click or tap to enter a date.
                                                                              $                    Click or tap to enter a date.
                                                                              $                    Click or ta p to enter a date.
                                                                              $                    Click or tap to enter a date.
                                                                              $                    Click or tap to enter a date.
                                                                              $                    Clicl{ or tap to enter a date.
                                                                              $                    Click or tap to enter a date;

5.2 Rejected
• Creditor Name                        Address & Property Description         Arrearage            Arrearage Through Date
                                                                              Amount
                                                                                                                                      •
 •


 I    Diamler Trust (Claim #3)         clo BK Servicing, LLC, P.O. Box        $0.00                7/6/2018
                                       131265, Roseville, MN 55113­                                                                   I
 .                                     0011 2015 ME C300W4
                                                                              $                  Click or tap to    enter a   date.
                                                                              $                  Click or tap to    enter a   date.
                                                                              $                  Click or tap to    enter a   date.
                                                                              $                  Click or tap to    enter a   date.
                                                                              $                  Click or tap to    enter a   date.

                                                                              d
5.3 Post-Petition Payments for Assumed Executory Contracts and Unexpired Leases.
                                                                                                 Click or tap to
                                                                                               • Click or ta p to
                                                                                                                    enter a
                                                                                                                    enter a
                                                                                                                              date.
                                                                                                                              date.

Debtor shall make the following Post-Petition Payments directly to the Creditor:

                                                                                                                                 Page 7
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                                                                                                       Document
                                                 Pg 8 of 10    Amount
                                                                            $                                                  •


                                                                            $
                                                                            $
                                                                            $
                                                                            $


 .                                                                          1                                                  i




 PART 6 NONPRIORITY, UNSECURED CLAIMS
 6.1 Allowed nonpriority, unsecured claims shall be paid pro rata from the balance of payments made under this Plan.
 6.2 Separately classified non priority unsecured claims
 Check one.
    D None.
    D The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

     Creditor Name                  Basis for separate classification and   Amount to be      Current Installment Payment
                                    treatment                               paid on the
                                                                                                                               I
                                                                            claim
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $
                                                                            $                 $

PART 7 MISCELLANEOUS
Debtor must comply with all the applicable requirements ofthe Bankruptcy Code and Bankruptcy
Rules, including, but not limited to, those found in 11 U.S.c. § 521 and Bankruptcy Rules 2015 and
4002, where applicable. This includes a duty to file tax returns and, in certain circumstances, operating
reports. Additional information that is useful for filling out this Plan, serving the Plan, and completing
the chapter 13 process is available here: http:/www.nysb.uscourts.gov/chapter-13-plan-information

 PART 8 LOSS MITIGATION AND NONSTANDARD PROVISIONS
 8.1 Any nonstandard provision must be entered here. If this Part conflicts with any earlier Part except
 Part 1.2, this Part controls.

 8.2 Loss Mitigation:
    D By checking this box and completing this section, the Debtor requests loss mitigation pursuant to Local Rule
9019-2, which governs a court-ordered loss mitigation program, pursuant to which parties may deal with
issues such as a loan modification, loan refinance, short sale, or surrender in full satisfaction, concerning
the Debtor's Real Property Used as a Principal Residence. [IdentifY the property, loan and creditorfor
which you are requesting loss mitigation}



The Debtor estimates the value of the Real Property used as Principal Residence to be $
The Debtor hereby permits the Secured Creditor(s) listed above to contact (check all
             that apply):
      D The Debtor directly.
      D Debtor's bankruptcy counsel.
      D Other:
Debtor is not required to dismiss this bankruptcy Petition during the loss mitigation discussions. The Debtor
shall submit an order granting loss mitigation if no objections are received within the requisite notice period
See hllp:llwww.nysb.uscourls.govlloss-mitigation and http://www.nysb.uscourts.gov/sites/defaultifileslch13DebtorInstructions.p4!
                                                                                                                            Page 8
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 8.3 Sale and Credit Bidding of Real Property.
    o   By checking this box, Debtor intends to sell Real Property having an address of Address of Property to be
Sold pursuant to 11 U.S.C. § 363(b). The Real Property is subject to a secured claim held by Name of Creditor to
this Plan is the contract of sale, in which Name of Buyer has agreed to pay $         for the collateral. Attach as an
exhibit to the Plan the sale contract and any evidence supporting request for relief under 11 U.S. C. § 363(f) and/or
(m). Pursuant to II U.S.C. § 363(k), the Secured Creditor, Name of Creditor may assert its right to credit bid as part
of a timely objection to confirmation and submit a higher and better offer by a time set by the Court. Debtor shall
attach an affidavit containing all facts necessary for Court to approve the sale and should be prepared to address the
requirements of 11 U.S.C. § 363 at the confinnation hearing. The Debtor shall submit an order approving sale upon
confinnation of the Plan or the Court's separate determination of the request, whichever is earlier.

  8.4 Surrender in Full Satisfaction
    o  By checking this box, Debtor surrenders the following property in full satisfaction of the Secured
Creditor's debt. Attach appraisal or other evidence ofthe property's value as an exhibit to this Plan.




 8.5 Surrender and Vesting
    o   By checking this box, title to any collateral surrendered in this Plan automatically vests in the Name of Secured
Creditor upon confinnation and the lifting of the automatic stay. Creditor has 60 days from the date of such order to file a
deficiency claim. The Debtor shall submit an order surrendering the collateral and vesting title in the creditor upon
confirmation ofthe Plan or the Court's separate determination ofthe request, whichever is earlier.

 8.6 Additional Non-Standard Provisions
 $601,277.38 of the remaining available proceeds of Debtor's claim against The Allstate Indemnily Co. upon his fire
 insurance claim for 3 Dara Ct, Monroe, NY 10950 were paid directly to the Chapter 13 Trustee on or about April 11,2018,
 pursuant to Order of the Bankruptcy Court. Said funds shall be distributed by the Trustee pursuant to a filed "So Ordered"
 Stipulation by and between Debtor's Attorney and the Attorney for JP Morgan Chase Bank, NA.
 PART 9 DEBTOR'S SIGNATURE
 Dated: July 6,2018, New York


                                                                                                                                 I
 lSI KASTRIOT RAPAJ
  Debtor                                                            Joint Debtor
                                                                                                                                 I

                                                                                                                                 I



  Debtor Address                                                    Joint Debtor Address
                                                                                                                                 I

 PART 10 DEBTOR'S ATTORNEY'S SIGNATURE

 SI RICHARD SCOTT ZIRT                                            July 6, 2018
  Attorney for Debtor                                             . Date


  Firm Name Richard Scott Zirt, Esq.
  Attorney Street Address 10 S1. John Street, PO Box 1315                          Attorney Telephone (845) 794-5928
  Attorney City, State Zip Code Monticello, NY 12701                                       Attorney Email richardzirt@gmail.com

 PART 11 CERTIFICATION
 I, the undersigned attorney for the Debtor or Pro se Debtor, hereby certify that the foregoing Plan confonns to the
 pre-approved Form Plan pursuant to Local Rule 3015-1 of the United States Bankruptcy Court for the Southern
 District of New York and contains no nonstandard provisions other than those set out in Part 8.



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 S/ RICHARD SCOTI ZIRT                              7/6/2018
 Attorney for Debtor or Pro Se Debtor                Date




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